Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 1 of 41 PageID #: 14




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 2 of 41 PageID #: 15




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 3 of 41 PageID #: 16




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 4 of 41 PageID #: 17




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 5 of 41 PageID #: 18




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 6 of 41 PageID #: 19




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 7 of 41 PageID #: 20




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 8 of 41 PageID #: 21




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 9 of 41 PageID #: 22




                                  EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 10 of 41 PageID #: 23




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 11 of 41 PageID #: 24




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 12 of 41 PageID #: 25




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 13 of 41 PageID #: 26




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 14 of 41 PageID #: 27




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 15 of 41 PageID #: 28




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 16 of 41 PageID #: 29




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 17 of 41 PageID #: 30




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 18 of 41 PageID #: 31




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 19 of 41 PageID #: 32




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 20 of 41 PageID #: 33




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 21 of 41 PageID #: 34




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 22 of 41 PageID #: 35




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 23 of 41 PageID #: 36




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 24 of 41 PageID #: 37




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 25 of 41 PageID #: 38




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 26 of 41 PageID #: 39




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 27 of 41 PageID #: 40




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 28 of 41 PageID #: 41




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 29 of 41 PageID #: 42




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 30 of 41 PageID #: 43




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 31 of 41 PageID #: 44




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 32 of 41 PageID #: 45




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 33 of 41 PageID #: 46




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 34 of 41 PageID #: 47




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 35 of 41 PageID #: 48




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 36 of 41 PageID #: 49




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 37 of 41 PageID #: 50




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 38 of 41 PageID #: 51




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 39 of 41 PageID #: 52




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 40 of 41 PageID #: 53




                                   EXHIBIT 1
Case 3:23-cv-00628-CHB-CHL Document 1-1 Filed 11/29/23 Page 41 of 41 PageID #: 54




                                   EXHIBIT 1
